
USCA1 Opinion

	





        November 28, 1995       [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           
                                 ____________________


        No. 95-1520 

                         ROBERT F. SMITH AND JOANNE M. SMITH,

                               Plaintiffs, Appellants,

                                          v.

             NEW HAMPSHIRE BOARD OF LICENSURE FOR LAND SURVEYORS, ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE


                    [Hon. Paul J. Barbadoro, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Robert F. Smith and Joanne M. Smith on brief pro se.
            _______________     _______________
            Jeffrey R. Howard, Attorney General,  and Stephen J. Judge, Senior
            _________________                         ________________
        Assistant Attorney General, on brief for appellees New Hampshire Board
        of Land Surveyors and Members.
            Donald F. Whittum and Cooper, Hall,  Whittum &amp; Shillaber, P.C.  on
            _________________     ________________________________________
        brief for appellee David Richard Noyes.


                                 ____________________


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                      Per Curiam.  Plaintiffs-appellants filed an amended
                      __________

            complaint under 42  U.S.C.   1983 alleging violations  of the

            First Amendment,  due process and  equal protection  clauses,

            all  based on  the  refusal of  the  New Hampshire  Board  of

            Licensure   to   hold   a  formal   hearing   on  plaintiffs'

            disciplinary charges  against defendant Noyes.   The district

            court  dismissed  the  complaint   for  failure  to  state  a

            cognizable claim.   

                      Plaintiffs challenge  the court's ruling  that they

            did not plead the deprivation of an interest protected by the

            due  process clause.   They  say  that the  court erroneously

            failed  to recognize  a  constitutional  deprivation  in  the

            alleged violation of their  state law rights to notice  and a

            hearing on their disciplinary  complaint against Noyes.  Even

            if  a protected  interest  could be  identified, however,  an

            unauthorized deviation from state  procedure does not rise to

            the level  of a  constitutional due process  violation unless

            the  state  fails  to  provide  a  suitable  post-deprivation

            remedy.   See Licari v. Ferruzzi, 22  F.3d 344, 348 (1st Cir.
                      ___ ______    ________

            1994).   New  Hampshire law  provides  such a  remedy through

            rehearing and  direct appeal of  Board orders, see  N.H. Rev.
                                                           ___

            Stat. Ann.   310-A:71  (1995) ("Orders of the board  shall be

            subject to rehearing  and appeal in the  manner prescribed by

            RSA 541."); N.H. Rev. Stat. Ann.    541:1-541:6 (1974 &amp; Supp.

            1994),  or petition for an extraordinary writ.  See N.H. Rev.
                                                            ___



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            Stat. Ann.   490:4 (1983).  Plaintiffs' remaining contentions

            also  fail  substantially  for  the  reasons  stated  by  the

            district court.

                      Reviewing  the district  court's decision  de novo,
                                                                 _______

            the judgment is affirmed.
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